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    In the United States Court of Federal Claims
                                  OFFICE OF SPECIAL MASTERS
                                          No. 21-0853V


    ROSALIND PAASWELL,
                                                              Chief Special Master Corcoran
                         Petitioner,
    v.                                                        Filed: January 30, 2025


    SECRETARY OF HEALTH AND
    HUMAN SERVICES,

                        Respondent.


Ronald Craig Homer, Conway, Homer, P.C., Boston, MA, for Petitioner.

James Vincent Lopez, U.S. Department of Justice, Washington, DC, for Respondent.

                      DECISION ON ATTORNEY’S FEES AND COSTS 1

      On February 3, 2021, Rosalind Paaswell filed a petition for compensation under
the National Vaccine Injury Compensation Program, 42 U.S.C. §300aa-10, et seq. 2 (the
“Vaccine Act”). Petitioner alleged that she suffered a Table shoulder injury related to
vaccine administration as the result of an influenza vaccination she received on October
7, 2020. Petition, ECF No. 1. On March 29, 2024, I issued a decision awarding
compensation to Petitioner based on Respondent’s proffer. ECF No. 58.



1
 Because this Decision contains a reasoned explanation for the action taken in this case, it must be made
publicly accessible and will be posted on the United States Court of Federal Claims' website, and/or at
https://www.govinfo.gov/app/collection/uscourts/national/cofc, in accordance with the E-Government Act of
2002. 44 U.S.C. § 3501 note (2018) (Federal Management and Promotion of Electronic Government
Services). This means the Decision will be available to anyone with access to the internet. In
accordance with Vaccine Rule 18(b), Petitioner has 14 days to identify and move to redact medical or other
inf ormation, the disclosure of which would constitute an unwarranted invasion of privacy. If , upon review, I
agree that the identified material fits within this definition, I will redact such material f rom public access.
2 National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for ease

of citation, all section ref erences to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C. §
300aa (2018).
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       Petitioner has now filed a motion for attorney’s fees and costs, requesting an award
of $33,684.10 (representing $32,085.30 in fees plus $1,598.80 in costs). Application for
Attorneys’ Fees and Costs (“Motion”) filed September 23, 2024, ECF No. 63.
Furthermore, Petitioner filed a signed statement representing that Petitioner incurred no
personal out-of-pocket expenses. ECF No. 64.

        Respondent reacted to the motion on September 23, 2024, indicating that he is
satisfied the statutory requirements for an award of attorneys’ fees and costs are met in
this case but deferring resolution of the amount to be awarded to my discretion. Motion
at 2-4, ECF No. 65. Petitioner filed no reply thereafter.

       I have reviewed the billing records submitted with Petitioner’s request. The rates
requested for work performed through the end of 2024 are reasonable and consistent
with our prior determinations, and will therefore be adopted. However, I find a minor
reduction in the amount of fees to be awarded appropriate, for the reasons stated below.

        After reviewing the billing records submitted with Petitioner’s request, I find that the
fees award must be reduced for redundant time billed for the review of status reports,
correspondence cover letters, and other cursory documents prepared by another
attorney. See, e.g., ECF No. 63 (entries dated 1/3/23; 5/30/23; 8/28/23; 4/1/24; 4/3/24).
I am aware that it is a common practice for Conway, Homer, P.C. to have several
attorneys work on the same matter, even if one predominantly is responsible for hearings.
In some instances, such as when preparing substantive documents like the petition,
briefs, and settlement demands, it is reasonable to have another set of eyes review that
document (and the Conway Homer, P.C. attorneys typically bill reasonable amounts that
reflect their personal expertise, with more experienced counsel needing to spend less
time on matters than newer attorneys).

         However, it is not reasonable to have an attorney bill for time to review routine
filings, such as status reports, joint notice not to seek review, and motions for enlargement
of time, when those filings were prepared (and billed for) by another attorney. And this is
not the first time I or other special masters have noted this particular issue concerning
Conway, Homer, P.C. billing practices. See, e.g., Manetta v. Sec’y of Health & Hum.
Servs., No. 18-172V, 2020 WL 7392813, at *2 (Fed. Cl. Spec. Mstr. Nov 19, 2020); Lyons
v. Sec’y of Health & Hum. Servs., No. 18-414V, 2020 WL 6578229 (Fed. Cl. Spec. Mstr.
Oct. 2, 2020). Accordingly, Petitioner will not receive fees for redundant efforts. This
results in a reduction in the amount of fees to be awarded of $215.50.



                                               2
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      Petitioner has otherwise provided supporting documentation for all claimed costs.
ECF No. 63 at 29-43. Respondent offered no specific objection to the rates or amounts
sought. I find the requested costs reasonable and hereby award them in full.

                                              CONCLUSION

       The Vaccine Act permits an award of reasonable attorney’s fees and costs for
successful claimants. Section 15(e). Accordingly, I hereby GRANT, in part, Petitioner’s
Motion for attorney’s fees and costs. Petitioner is awarded attorneys’ fees and costs
in the total amount of $33,468.60 (representing $31,869.80 in fees plus $1,598.80 in
costs) to be paid through an ACH deposit to petitioner’s counsel’s IOLTA account
for prompt disbursement. In the absence of a timely-filed motion for review (see
Appendix B to the Rules of the Court), the Clerk of Court shall enter judgment in
accordance with this decision. 3

IT IS SO ORDERED.

                                                      s/Brian H. Corcoran
                                                      Brian H. Corcoran
                                                      Chief Special Master




3
  Pursuant to Vaccine Rule 11(a), the parties may expedite entry of judgment by f iling a joint notice
renouncing their right to seek review.
                                                  3
